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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


NEAL MILLER and DONNA MILLER,                        :       CIVIL ACTION
Individually and as Administrators of the            :
Estate of RYAN MILLER, a Minor, Deceased             :
                                                     :
               v.                                    :       NO. 20-cv-06301-MMB
                                                     :
POLICE OFFICER JOSEPH WOLK                           :


                       PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                         MOTION FOR SUMMARY JUDGMENT

       Plaintiffs Neal Miller and Donna Miller, by and through their undersigned counsel,

hereby file their Opposition to Defendant’s Motion for Summary Judgment pursuant to Federal

Rule of Civil Procedure 56. In support of their opposition, Plaintiffs incorporate the attached

Memorandum of Law as well as their response to Defendant’s Statement of Material Facts as

well as their own Counterstatement of Material Facts. Plaintiff respectfully requests that

Defendant’s Motion for Summary Judgement be denied with prejudice.

                                                     Respectfully submitted,

                                                     FLAGER & ASSOCIATES, P.C.


                                             By:      /s/ Michael S. Levin
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Dated: February 15, 2024
